 Case 21-13155-KCF            Doc 6-1 Filed 05/03/21 Entered 05/03/21 09:29:09           Desc
                               Certificate of Service Page 1 of 2



 UNITED STATES BANKRUPTCY COURT
 FOR THE DISTRICT OF NEW JERSEY

 McCABE, WEISBERG & CONWAY, LLC
 By: Marisa M. Cohen, Esq. (Atty.
 I.D.#MMC017032001)
 216 Haddon Avenue, Suite 201
 Westmont, NJ 08108
 856-858-7080
 Attorneys for Movant: Citizens Bank, N.A.
 IN re:                                              Case No.: 21-13155-KCF
                                                     Chapter: 7
 Raquel Antoniello                                   Judge: Kathryn C. Ferguson
        Debtor



                                 CERTIFICATION OF SERVICE

1.       I, Christine LoRusso:

          represent the _____________________ in the above-captioned matter.

          am the secretary/paralegal for Marisa M. Cohen, Esq., who represents the Movant in
         the above captioned matter.
          am the ______________________ in the above case and am representing myself.

2.       On May 3, 2021, I sent a copy of the following pleadings and/or documents to the parties
         listed in the chart below:
                   Notice of Appearance and Demand For Service of Papers
                   Certification of Service
                   Proposed Order
                   Certification of Service

3.       I hereby certify under penalty of perjury that the above documents were sent using the
         mode of service indicated.

     Dated:         May 3, 2021                                           /s/ Christine LoRusso
                                                                                       Signature
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Name and Address of Party Served              Relationship of                 Mode of Service
                                             Party to the Case
Raquel Antoniello                           Debtor                     Hand-delivered
15 Villanova Drive
                                                                       Regular mail
Jackson, NJ 08527
                                                                       Certified mail/RR
                                                                       E-mail
                                                                       Notice of Electronic Filing
                                                                      (NEF)
                                                                       Other ____________
                                                                      (as authorized by the court *)
William H. Oliver, Jr.                      Attorney for Debtor        Hand-delivered
Oliver & Legg, LLC                                                     Regular mail
2240 State Highway 33
Suite 112                                                              Certified mail/RR
Neptune, NJ 07753                                                      E-mail
                                                                       Notice of Electronic Filing
                                                                      (NEF)
                                                                       Other _______
                                                                      (as authorized by the court *)
Andrea Dobin                                Chapter 7 Trustee          Hand-delivered
McManimon, Scotland & Baumann,                                         Regular mail
LLC
427 Riverview Plaza                                                    Certified mail/RR
Trenton, NJ 08611                                                      E-mail
                                                                       Notice of Electronic Filing
                                                                      (NEF)
                                                                       Other _______
                                                                      (as authorized by the court *)
U.S. Trustee                                US Trustee                 Hand-delivered
US Dept of Justice Office of the US                                    Regular mail
Trustee
One Newark Center Ste 2100                                             Certified mail/RR
Newark, NJ 07102                                                       E-mail
                                                                       Notice of Electronic Filing
                                                                      (NEF)
                                                                       Other _______
                                                                      (as authorized by the court *)

* May account for service by fax or other means as authorized by the court through the issuance of an
Order Shortening Time.
                                                                                              rev.4/24/12
